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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TENNESSEE
                                     EASTERN DIVISION

__________________________________________________________________________________

                                   )
UNITED STATES OF AMERICA,          )
                                   )
            Plaintiff,             )
                                   )
VS.                                )                 CR. NO. 1:17-10004-STA
                                   )
PAUL ISOM,                          )
                                   )
            Defendant.             )
__________________________________________________________________________________

                           ORDER ON CHANGE OF PLEA
_________________________________________________________________________________
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       This cause came to be heard on May 2, 2017, Assistant United States Attorney, Matt Wilson,
appearing for the Government and the defendant, Paul Isom, appearing in person, and with counsel,
Steve West.

       With leave of the Court, the defendant withdrew the not guilty plea heretofore entered and
entered a plea of guilty to Count 3 of the Indictment.

       A basis in fact having been established, the Court accepted the guilty plea.

      SENTENCING in this case is SET for FRIDAY, AUGUST 4, 2017 at 10:15 A.M., before
Judge S. Thomas Anderson.

       Defendant is remanded to the custody of the United States Marshals.

       ENTERED this the 2nd day of May, 2017.


                                                   s/ S. Thomas Anderson
                                                    CHIEF JUDGE, U. S. DISTRICT COURT
